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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
RCH:AXB/LAZ                                         610 Federal Plaza
F. #2022R01030                                      Central Islip, New York 11722



                                                    October 20, 2023

Filed Under Seal

By ECF

The Honorable Joanna Seybert
United States District Judge
100 Federal Plaza
Central Islip, New York 11722

              Re:     United States v. George Anthony Devolder Santos
                      Criminal Docket No. 21-371 (S-1) (JS)           .

Dear Judge Seybert:

               The government respectfully submits this letter to notify the Court regarding a
potential conflict of interest involving Joseph Murray, Esq., counsel for the defendant George
Anthony Devolder Santos in the above-referenced matter. This potential conflict arises from
relationships that Mr. Murray has with two individuals who are referenced in the superseding
indictment, namely Person #1 and Nancy Marks. The government advises the Court of this
information pursuant to its obligations under Second Circuit law so that the Court may conduct
the appropriate inquiry pursuant to United States v. Curcio, 680 F.2d 881, 888-90 (2d Cir.
1982), including by appointing Curcio counsel during the next court appearance on October
27, 2023. See, e.g., United States v. Stantini, 85 F.3d 9, 13 (2d Cir. 1996); United States v.
Malpiedi, 62 F.3d 465, 467 (2d Cir. 1995).

I.     Background

              On October 10, 2023, a grand jury sitting in the Eastern District of New York
returned a 23-count superseding indictment (the “Indictment”) charging the defendant with:
(i) one count of conspiracy to commit offenses against the United States, in violation of 18
U.S.C. § 371; (ii) nine counts of wire fraud, in violation of 18 U.S.C. §§ 1343 and 2; (iii) four
counts of making materially false statements, in violation of 18 U.S.C. §§ 1001(a)(2) and 2;
(iv) two counts of falsification of records or documents, in violation of 18 U.S.C. §§ 1519 and
2; (v) two counts of aggravated identity theft, in violation of 18 U.S.C. §§ 1028A and 2;
(vi) one count of access device fraud, in violation of 18 U.S.C. §§ 1029(a)(5) and
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1029(c)(1)(A)(ii); (vii) three counts of money laundering, in violation of 18 U.S.C. §§ 1957(a),
1957(b) and 2; and (viii) one count of theft of public money, in violation of 18 U.S.C. § 641.

               As relevant here, Counts One through Eight arise from the defendant’s alleged
participation in a scheme to submit materially false reports to the Federal Election Commission
(“FEC”) on behalf of the defendant’s campaign committee. Those reports fraudulently inflated
the campaign committee’s fundraising numbers for the purpose of misleading the FEC, a
national political party committee and the public. By doing so, the defendant sought to, among
other things, ensure that he qualified to receive financial and logistical support from the
national political party committee (the “Party Program Scheme”). The Indictment alleges that
Nancy Marks was the defendant’s co-conspirator in the Party Program Scheme.1

               Similarly, Counts Eleven through Eighteen arise from the defendant’s alleged
execution of a scheme to defraud and obtain money from supporters of his candidacy for the
U.S. House of Representatives by fraudulently inducing them to contribute funds to a company
he co-managed (“Company #1”) under the false pretense that the money would be used to
support the defendant’s candidacy, when, in truth, the defendant spent thousands of dollars of
the solicited funds on personal expenses, including luxury designer clothing and credit card
payments (the “Company #1 Scheme”). The Indictment alleges that the defendant executed
this scheme by providing Person #1 with false information about Company #1 for Person #1
to communicate to potential victims.

II.    Applicable Law

               The Sixth Amendment affords a criminal defendant the right to the effective
assistance of counsel. See Wood v. Georgia, 450 U.S. 261, 271 (1981); United States v. Perez,
325 F.3d 115, 124 (2d Cir. 2003). That right, however, is not absolute and does not guarantee
the defendant counsel of his own choosing. See United States v. Jones, 381 F.3d 114, 119 (2d
Cir. 2004); United States v. Locascio, 6 F.3d 924, 931 (2d Cir. 1993). While there is a
“presumption in favor of [the defendant’s] chosen counsel, such presumption will be overcome
by a showing of an actual conflict or a potentially serious conflict.” Jones, 381 F.3d at 119
(citing Locascio, 6 F.3d at 931); see also Wheat v. United States, 486 U.S. 153, 164 (1988).

                To determine if a defendant’s counsel is burdened by a conflict of interest, a
district court “must investigate the facts and details of the attorney’s interests to determine
whether the attorney in fact suffers from an actual conflict, a potential conflict, or no genuine
conflict at all.” United States v. Levy, 25 F.3d 146, 153 (2d Cir. 1994). An actual conflict
exists “when the attorney’s and the defendant’s interests diverge with respect to a material
factual or legal issue or to a course of action, or when the attorney’s representation of the
defendant is impaired by loyalty owed to a prior client.” Jones, 381 F.3d at 119 (internal

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         As the Court is aware, on October 5, 2023, Ms. Marks waived indictment and pled
guilty to a felony information charging her with conspiracy to commit offenses against the
United States. That charge arose from the same Party Program Scheme with which the
defendant is currently charged.


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quotation marks and citations omitted). A potential conflict arises if “the interests of the
defendant could place the attorney under inconsistent duties in the future.” Id. (emphasis and
citations omitted).

               If an attorney suffers from an actual or potential conflict of such a serious nature
that no rational defendant would knowingly and intelligently desire that attorney’s
representation, the court must disqualify that attorney. See United States v. Lussier, 71 F.3d
456, 461-62 (2d Cir. 1995). Such per se conflicts of interest are not only unwaivable. They
are of such a serious nature that, if allowed to persist through trial and conviction, on appeal
they result in automatic reversal without requiring a showing of prejudice. United States v.
Williams, 372 F.3d 96, 103 (2d Cir. 2004). Regardless of the severity of the conflict or the
defendant’s willingness to waive the conflict, “[f]ederal courts have an independent interest in
ensuring that criminal trials are conducted within the ethical standards of the profession and
that legal proceedings appear fair to all who observe them.” Wheat, 486 U.S. at 160. “The
question of [attorney] disqualification therefore implicates not only the Sixth Amendment right
of the accused, but also the interests of the courts in preserving the integrity of the process and
the government’s interests in ensuring a just verdict and a fair trial.” Locascio, 6 F.3d at 931.
Accordingly, “a district court should decline to permit a defendant to be represented by the
counsel of his choice if that representation would undermine the integrity of the judicial
process.” United States v. DiPietro, No. 02 CR 1237 (SWK), 2004 WL 613073, at *4
(S.D.N.Y. Mar. 29, 2004) (citing Wheat, 486 U.S. at 163).

                If a conflict is such that a rational defendant could knowingly and intelligently
choose to continue to be represented by the conflicted attorney, the court must obtain directly
from the defendant a valid waiver in accordance with the procedures set forth in Curcio. See,
e.g., Malpiedi, 62 F.3d at 470; Levy, 25 F.3d at 153; United States v. Iorizzo, 786 F.2d 52, 58-
59 (2d Cir. 1986). In summarizing Curcio procedures, the Second Circuit has instructed the
trial court to:

               (i) advise the defendant of the dangers arising from the particular
               conflict; (ii) determine through questions that are likely to be
               answered in narrative form whether the defendant understands
               those risks and freely chooses to run them; and (iii) give the
               defendant time to digest and contemplate the risks after
               encouraging him or her to seek advice from independent counsel.

Iorizzo, 786 F.2d at 59; see also Curcio, 680 F.2d at 888-90. By relying on waivers of potential
conflict claims, courts are spared from having to wade into the intricacies of those claims.
United States v. Jiang, 140 F.3d 124, 128 (2d Cir. 1998).

               Finally, the need for a Curcio hearing exists regardless of whether a case is
disposed of by way of guilty plea or trial. “A claim that counsel is conflicted is in essence a
claim of ineffective assistance of counsel.” Stantini, 85 F.3d at 15. Likewise, “[e]ffective
assistance of counsel includes counsel’s informed opinion as to what pleas should be entered.”
Boria v. Keane, 99 F.3d 492, 497 (2d Cir. 1996). Therefore, it necessarily follows that a


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defendant has a right to conflict-free representation during the plea negotiation stage. See id.
(“[P]rior to trial an accused is entitled to rely upon his counsel to make an independent
examination of the facts, circumstances, pleadings and laws involved and then to offer his
informed opinion as to what plea should be entered.”) (quoting Von Moltke v. Gillies, 332
U.S. 708, 721 (1948) (emphasis added)); see also Stantini, 85 F.3d at 16-17 (suggesting that
ineffective assistance of counsel may be shown if attorney’s dual representation led to
inadequate advice “with respect to the advantages or disadvantages of a plea”).

III.   Analysis

                To date, the government understands, from conversations with Mr. Murray, that
the following is true: (a) Mr. Murray has had a personal relationship with Person #1 for several
years, arising from their mutual involvement in local politics; (b), Person #1 initially sought to
retain Mr. Murray as counsel during the government’s investigation and had an initial
consultation with Mr. Murray, during which they discussed the substance of the government’s
investigation; (c) due to his representation of the defendant, Mr. Murray ultimately decided
not to represent Person #1 and never entered into a retainer agreement with Person #1; (d) Mr.
Murray has a professional relationship with Nancy Marks, arising from Ms. Marks serving as
Mr. Murray’s campaign treasurer and campaign account signatory during Mr. Murray’s
two-month campaign to become the Queens County District Attorney in 2019; and (e) Mr.
Murray’s campaign account remains open but inactive and Ms. Marks remains the signatory
for that account. Following Ms. Marks’s guilty plea on October 5, 2023, Mr. Murray advised
the government that he was concerned about the potential conflicts or appearance of conflicts
created by the aforementioned relationships.

                The government likewise believes that these issues warrant the Court’s
attention. Mr. Murray’s relationships with Person #1 and Ms. Marks pose inherent dangers in
that his affiliation with these individuals, each of whom was centrally involved in one of the
criminal schemes charged in the Indictment, has the potential to affect his advice and conduct
in this matter, including (1) advice to the defendant about whether to proceed to trial or plead
guilty; (2) his cross-examination of either Person #1 or Ms. Marks, should they testify at trial;
and (3) his choice of strategy at trial, to the extent certain strategies would require Mr. Murray
to portray either Person #1 or Ms. Marks in a negative light.

               That being said, based on the information the government possesses at this time,
the government respectfully submits that the aforementioned potential conflicts of interest
created by Mr. Murray’s relationships with Person #1 and Ms. Marks are waivable. Courts
have previously held that similar conflicts may be waivable by a defendant. For example, in
United States v. Basciano, defense counsel had a prior relationship with one of the
government’s cooperating witnesses and had conversations with the cooperating witness
before the cooperating witness was arrested, after he was arrested, and after he had begun
cooperating with the government. No. 03 CR 929 (NGG), 2008 WL 794945, at *6 (E.D.N.Y.
Mar. 24, 2008). Following a Curcio hearing, during which independent counsel was appointed
to speak with the defendant, the Court permitted the defendant to waive the conflict. Id. at *7.
Following his conviction at trial, the defendant moved for a new trial on the basis of the denial


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of his right to conflict-free counsel. Id. at *1. The district court denied the motion, concluding
that “[c]onflicts involving an attorney’s prior representation of a trial witness are generally
waivable” and the defendant’s “waiver was knowing and intelligent.” Id. at *7-8. To the
government’s knowledge, Mr. Murray did not ultimately represent Person #1 or Ms. Marks in
connection with this matter, although he had an initial consultation with Person #1.2

               Accordingly, the government respectfully requests that the Court appoint Curcio
counsel to advise the defendant regarding the potential conflicts and evaluate whether the
defendant is able to knowingly and intelligently waive that conflict. A Curcio hearing is
necessary to determine: (i) whether Mr. Murray’s relationships with Person #1 or Ms. Marks
present a conflict or a potential conflict; (ii) the nature and extent of that conflict or potential
conflict; and (iii) whether the defendant is willing and able to make a knowing and voluntary
waiver of the conflict. The government has provided proposed questions for the Court to ask
the defendant to ensure a valid waiver, which are attached as Exhibit A.




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                  To address his potentially privileged communications with Person #1, Mr.
Murray has advised the government that, should the defendant knowingly and intelligently
waive these potential conflicts of interest, Mr. Murray would arrange for the defendant to retain
separate counsel for the purpose of cross-examining Person #1, should Person #1 testify at any
future trial in this matter.


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IV.    Conclusion

               For the foregoing reasons, the government respectfully requests that the Court
notify the defendant of the potential conflicts described above and conduct an appropriate
inquiry pursuant to Curcio, including through the appointment of Curcio counsel. The
government further requests that the Court advise the defendant regarding his right to
conflict-free representation and determine whether he knowingly and intelligently waives
those rights.

                                                  Respectfully submitted,

                                                  BREON PEACE
                                                  United States Attorney

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                                            Exhibit A

                                 Proposed Curcio Examination

I.      Potential Conflict of Interest Posed by Defense Counsel’s Relationships

     1. Are you satisfied with the services of your attorney thus far in this case?

     2. Do you understand that, in every criminal case, including this one, the defendant is
        entitled to the assistance of counsel whose loyalty to him or her is undivided, and who
        is not subject to any force or consideration that might in any way intrude upon the
        attorney’s loyalty to his or her client’s interests?

     3. Have you received any inducements, promises, or threats about your choice of
        counsel in this case?

     4. Are you aware of the nature of your attorney’s relationship with Nancy Marks? Has
        Mr. Murray explained that relationship to you and do you feel you fully understand
        it?

     5. Are you aware of the nature of your attorney’s relationship with the person identified
        in the Indictment as Person #1? Without stating his identity, are you aware of the
        identity of Person #1? Has Mr. Murray explained his relationship with Person #1 to
        you and do you feel you fully understand it?

     6. Because your attorney has relationships with persons whose conduct is at issue in this
        case, he may be influenced by his relationships with these persons in connection with
        your attorney’s representation of you, that is, he may be influenced to advise you to
        do things that are either in your attorney’s interests or the interests of Person #1 or
        Ms. Marks and not in your best interests.

     7. Have you consulted with counsel other than your attorney about the risks associated
        with this potential conflict of interest?

     8. Let me give you some examples of the ways in which your attorney’s ability to
        represent you might be affected by the fact that your attorney has relationships with
        Person #1 and Ms. Marks. This could affect the way that your lawyer considers and
        advises you:



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             a. Whether, and when, you should plead guilty or proceed to trial;

             b. What defenses you should raise;

             c. Whether you should testify at trial;

             d. Which witnesses should be cross examined, by whom they should be cross
                examined, and what questions they should be asked;

             e. Which witnesses should be called, and what other evidence to offer on your
                behalf;

             f. What arguments to make on your behalf to the jury;

             g. What arguments to make to the Court, and what facts to bring to the Court’s
                attention, before trial, during trial, or, if you are convicted, at your sentencing.

      9. Tell me in your own words what your understanding is of the potential conflict of
         interest arising in this situation.

II.      Right to Conflict-Free Representation

      1. Do you understand that you have the right to object to your attorney’s continued
         representation of you based upon the existence of a potential conflict of interest?

      2. It is important that you understand that no one can predict with any certainty the
         course that this case will take or how this conflict may affect it.

      3. What is your understanding of the right to “effective assistance of counsel”?

      4. Is there anything I have said that you wish to have explained further?

      5. I will give you an opportunity to think about what you have been told, and, if you
         would like, to talk it over with counsel other than your attorney. After you have
         thought it over, I will ask whether you have considered the matters that I have talked
         to you about, either with or without an attorney. Then I will ask whether you wish to
         continue with your attorney.




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III.      Continuation of Curcio Hearing

       1. Given that your defense attorney’s relationships with Person #1 and Ms. Marks has
          the potential to adversely affect your defense, do you still believe that it is in your
          best interest to proceed with your attorney?

       2. Is that your wish?

       3. Do you understand that by continuing in this fashion with your attorney, you are
          waiving your right to be represented by an attorney who has no conflict of interest or
          potential conflict of interest?

       4. Are you knowingly and voluntarily waiving your right to conflict-free representation?

       5. Do you agree to waive any post-conviction argument, on appeal or otherwise, that by
          virtue of your attorney having these relationships with Person #1 and Ms. Marks, you
          were denied effective assistance of counsel?

       6. Is there anything that the Court has said that you wish to have explained further?




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